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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      ----------------------------------------------------------- X
                                                                  :
      UNITED STATES OF AMERICA,                                   :
                                                                  :   ORDER
                             - against -                          :
                                                                  :   09-cr-0466 (BMC)
      JOAQUIN ARCHIVALDO GUZMAN                                   :
      LOERA,                                                      :
                                                                  :
                                            Defendant.            :
      ----------------------------------------------------------- X
  COGAN, District Judge.

             By letters dated December 21, 2018 1 and January 3, 2019, The New York Times

  Company (the “NYT”) and Vice Media LLC (“Vice”), respectively, make three requests of the

  Court relating to sealed and redacted filings and transcripts. The Government has filed a letter in

  response, explaining the reason why some sealed documents identified by the NYT and Vice

  should remain sealed. This order addresses each request, in turn.

       I.    Unsealing the Docket

             The NYT and Vice request that the Court direct the parties to unseal any filings on the

  docket that are fully or partially sealed, or alternatively, to provide specific findings as to the

  reasons for the complete or partial sealing.

             First, the Court will remind the parties to be diligent in their redactions and cover only

  those portions of filings that are necessary to achieve the purposes they seek by sealing. The

  filings must also set forth specific reasons why they contend sealing is appropriate. The Court

  will also remind the parties of their obligations with respect to the pending orders to show cause,




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      The Court received The New York Times’s December 21, 2018 letter via fax on January 7, 2019.
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  why filings which are partially sealed cannot be unsealed at certain future dates, once the need

  for sealing no longer exists.

           Second, the Court agrees with the NYT and Vice that the parties should review the

  remainder of the docket for filings which are sealed or partially sealed, which are not already

  subject to orders to show cause. The parties are, therefore, directed to review their respective

  sealed filings (and any orders which relate to those filings) and inform the Court whether the

  filings can now be unsealed. If the parties contend that the filings cannot be unsealed, they are to

  provide the reason why not; if the Court disagrees, it will unseal the filing, but if the Court

  agrees, it will issue a sealing order with specific, on-the-record findings supporting that sealing.

  In addition, moving forward, the Court will issue sealing orders with specific, on-the-record

  findings for each sealed or partially sealed filing.

           This review of the docket cannot happen all at once, nor can it happen immediately.

  Because the parties and the Court are in the middle of a very large and complex criminal trial,

  diverting the Court’s and the parties’ resources and attention from the ongoing trial proceedings

  to review and unseal documents risks jeopardizing defendant’s right to a fair trial. This is

  especially true with respect to older filings which were sealed years ago. As a result, the parties

  should inspect the docket, confer, and inform the Court within five days of the date of this order

  of their proposed timeline for this review, and the format in which they propose providing their

  positions to the Court. 2




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    For example, this could be accomplished in a joint chart submitted by the parties which includes their position as
  to each sealed or redacted docket entry, but the Court will leave this decision to the parties. Separately, the
  Government’s letter envisions engaging in a similar practice at the close of trial. The Court simply asks that the
  parties propose as a deadline the earliest possible date on which they can complete this review without risking either
  the safety of witnesses or defendant’s right to a fair trial.



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   II.    Summarizing Sealed Orders

          The NYT and Vice request that, when public posting of an order is delayed while the

  parties propose redactions to the order for the Court’s review, the Court “provide brief

  descriptions on the docket at the same time the orders are initially issued.”

          The Court will ask the parties to title any forthcoming sealed motions with as much detail

  as possible, so that the public can understand the nature of the document being filed. To the

  extent the Court can provide greater clarity through a description of the orders ruling on those

  motions or filings, it will.

          But the Court cannot provide detailed summaries of its orders. When the Court issues an

  order that rules on sealed filings, the parties must inform the Court which information contained

  in the order must be redacted. That is because the parties, and not the Court, have the most

  accurate knowledge of what information can and cannot be made public. This is especially true

  with respect to witness security, which remains one of the Court’s primary concerns supporting

  sealing and redacting filings in this case. Although the Court has an obligation to review the

  parties’ proposed redactions and ensure that their stated justifications for sealing are valid, and

  that the redactions are narrowly tailored to achieve that purpose, the Court cannot do that in the

  first instance. Otherwise, it would risk disclosing sensitive information which cannot be made

  public. For those same reasons, the Court would also have to show any detailed summaries of

  those orders to the parties before posting them on the docket.

  III.    Sidebar Transcripts

          The NYT and Vice requests that transcripts of sidebar conversations be made public “to

  the extent the sealing of such conversations does not meet the stringent standards of the First




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  Amendment and the common law.” Sidebar conversations which are not sealed are already

  available to the public, and the NYT and Vice are free to order those transcripts.

          The Court has made specific, on-the-record findings providing reasons for complete or

  partial sealing with respect to a majority of the sealed or redacted sidebars. And the Court has

  already unsealed portions of sidebar transcripts when it found that there was no justification for

  sealing. Out of an abundance of caution, however, the Court orders that the transcript of sidebar

  proceedings at the following lines should be unsealed to the extent they are not already public:

  1039:9-1040:17; 1210:1-1213:14; 1266:15-1267:4; 1308:11-1311:18; 1447:2-1450:16; 3010:2-

  3011:9; 3052:2-3053:13; 3409:9-10. These portions of the transcript contain either the Court’s

  findings in support of sealing, or sidebar conversations that the Court previously found or now

  finds that sealing is not warranted. The party who applied for sealing is responsible for ensuring

  that these portions of the trial transcript are unsealed to the public.

          In addition, the Court makes the following findings in support of sealing four sidebars:

              •   1360:4-1361:10, 1398:4-1399:5: Complete sealing of these two sidebars is
                  necessary to protect public dissemination of personal information about the jury.
              •   1700:6-16, 1701:6-8: Partial sealing of this sidebar is necessary to protect the
                  cooperating witness who was referenced in the sealed portion. If the redacted
                  information is made public, it would put the cooperating witness’s and the
                  cooperating witness’s family’s safety at risk.

          The Court will continue to scrutinize the parties’ sealing applications – to the extent any

  are made – and the Court will deny them if it finds that there is no justification for sealing. If the




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  Court finds that there is justification to seal a sidebar transcript, the Court will continue to make

  specific, on-the-record findings with its reasons for full or partial sealing.

  SO ORDERED.
                                         Digitally signed by Brian M.
                                         Cogan
                                         _______________________________________
                                                              U.S.D.J.
  Dated: Brooklyn, New York
         January 13, 2019




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